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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )             Case No. 8:04CR313
                       Plaintiff,              )
                                               )
                vs.                            )
                                               )             SCHEDULING ORDER
JOSE LUIS BRAVO-LOPEZ,                         )
                                               )
                       Defendant.              )




          Before the court is defendant’s unopposed Motion to Continue [73]. Defense counsel is
in trial in the Eastern District of California. Good cause being shown, the motion to continue will
be granted and the previously scheduled evidentiary hearing on motion [27] will be continued.

         IT IS ORDERED:

         1.     That the Motion to Continue [73] is granted; and

         2.     That the evidentiary hearing on the Notice of Motion to Traverse Affidavit in
                Support of Warrant and to Suppress Evidence [#27] is rescheduled to May 27,
                2005 at 9:30 a.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6,
                Second Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha,
                Nebraska.

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 21st day of April, 2005.


                                               BY THE COURT:



                                               s/ F. A. Gossett
                                               United States Magistrate Judge
